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            EXHIBIT 2
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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           Case No. 1:22-cv-329-BLW

       Plaintiff,

v.

THE STATE OF IDAHO,

       Defendant.



                             [PROPOSED/FALL-BACK] ORDER

       Upon consideration of the United States’ Motion for a Preliminary Injunction, and the

parties’ respective submissions in support thereof and in opposition thereto, the Court hereby

grants the United States’ motion to the extent set forth below and otherwise denies it.

       It is ORDERED that the State of Idaho, including all of its officers, employees, and agents,

are preliminarily enjoined from enforcing Idaho Code § 18-622(2)-(3) to the extent, but only to

the extent, that such enforcement will actually prohibit, preclude, or unduly interfere with medical

treatment (i) that is provided “to stabilize” (within the meaning of the Emergency Medical

Treatment and Labor Act (“EMTALA”), 42 U.S.C. § 1395dd(e)(3)(A)) and (ii) that is provided in

a “hospital” (within the meaning of EMTALA, 42 U.S.C. § 1395dd(e)(5)). As used in the previous

sentence, “enforcing” and “enforcement” mean and encompass only actual conduct the purpose

and effect of which is to threaten or prosecute any criminal proceeding against or attempt to

suspend or revoke the professional license of any medical provider or hospital based on their

provision of medical treatment constituting an “abortion” (within the meaning of Idaho Code § 18-
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604(1)) when, but only when, that treatment is of an “emergency medical condition” (within the

meaning of EMTALA, 42 U.S.C. § 1395dd(e)(1)) and the withholding of that treatment “could

reasonably be expected to result in— … serious impairment to bodily functions or … serious

dysfunction of any bodily organ or part” of “a pregnant woman” (within the meaning of EMTALA,

42 U.S.C. § 1395dd(e)(1)(A)(ii)-(iii)).

SO ORDERED.




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